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                                               May 20, 2022

 BY ECF
 Honorable Zahid N. Quraishi
 United States District Judge
 Clarkson S. Fisher Building & U.S. Courthouse
 402 East State Street
 Trenton, NJ 08608

        RE: In re Direct Purchaser Insulin Pricing Litigation, No. 3:20-cv-3426 (D.N.J.)

 Dear Judge Quraishi:

         On May 13, 2022, the PBM Defendants wrote to the Court to request a pre-motion
 conference on the PBMs’ planned Motion under Federal Rule of Civil Procedure 12(c) for partial
 judgment on the pleadings based on the recent decision issued by the Minnesota federal court in
 the EpiPen litigation. In re EpiPen Direct Purchaser Litig., File No. 20-cv-0827 (ECT/JFD), 2022
 WL 1017770 (D. Minn. Apr. 5, 2022). Defendants’ reliance on EpiPen is misplaced, as that
 decision not only misconstrues applicable Supreme Court precedent, but also is contrary to Third
 Circuit controlling case law.

          In EpiPen, the Minnesota district court rejected the federal anti-kickback statute (“AKS”)
 under the Travel-Act as a qualifying predicate act under RICO based on its misapplication of a
 categorical approach that compares the elements of the alleged crime with the elements of the
 “generic” version of the listed offense. Id. at *5 (citing Mathis v. United States, 579 U.S. 500, 503
 (2016)). In doing so, the EpiPen court misinterpreted the Supreme Court case Perrin v. United
 States, 44 U.S. 37 (1979), as requiring generic bribery to include a “special trust” element in order
 to qualify as a predicate act under RICO. After finding that AKS bribery did not include such a
 special trust element, the EpiPen court held that AKS bribery was too broad to serve as a predicate
 act for the plaintiff’s RICO claims. EpiPen, 2022 WL 1017770 at *5.

         If the EpiPen court’s stricter, element-based approach is imposed here, it would
 erroneously narrow the definition of predicate acts under RICO and frustrate the intent of Congress
 based on the Minnesota court’s misinterpretation of the Supreme Court’s broadening application
 of bribery in Perrin. See 444 U.S. at 50 (holding that Congress intended bribery in violation of
 the laws of the State in which committed as used in the Travel Act to encompass conduct in
 violation of state commercial bribery statutes). See also United States v. Kotvas, 941 F.2d 1141,
 1146 (11th Cir. 1991) (“Congress intended RICO to be read broadly. Appellants’ position would
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 narrow the definition of predicate acts under RICO and frustrate the intent of Congress.”). Cf.
 United States v. Campbell, No. 04–cr–0424 (RWS), 2005 WL 6436620, at *6-7 (N.D. Ga. Oct. 25,
 2005) (holding that federal law does not require the government to allege a specific quid pro quo
 when it is not an element of bribery under Georgia state law).

         In Perrin, the Supreme Court determined that the Travel Act, 18 U.S.C. 1952, was not
 limited to common law bribery (involving corruption of public officials only), but, instead,
 extended to commercial bribery (involving corruption of private persons). Perrin, 444 U.S. at 48-
 50. Applying a broad rule of criminal culpability, the Court held that when federal statutes use the
 word bribery, that term means “payments to private persons to influence…private duties.” Id. at
 43-44, 43 n.8, 46. These “private duties” are those created by statute or common law, but also
 include an abundance of obligations that are both imposed by and arise under a variety of federal
 statutes, including those that do not even use the word bribery. Perrin, 444 U.S. at 43 n. 8. The
 Court also noted that state law crimes that involve relations of special trust should be kept secure
 from the corrupting influence of bribery. Id. at 45 n. 11. See also United States v. Ferriero, 866
 F.3d 107, 124 (3d Cir. 2017) (“We understand Perrin’s explanation of bribery as extending to
 party officials who, like numerous other private persons and public officials, occupy positions of
 ‘special trust.’”), cert. denied, __ U.S. __, 138 S. Ct. 1031 (2018). The Court’s notation that those
 who occupy positions of special trust were not immune from bribery charges, however, was in no
 way a limitation on the Court’s extension of the reach of bribery prohibited under the Travel Act
 to include private persons. To the contrary, the Court made clear that a broad generic definition
 of bribery, rather than a narrow common-law definition, was intended by Congress. Perrin, 444
 U.S. at 49. See also United States v. Parlavecchio, 903 F. Supp. 788, 791 (D.N.J. 1995) (case law
 has established that terms, such as bribery, under the Travel Act are to be read generically, and
 that the generic definitions of these crimes may be broader than their strict common law
 definitions) (citing Perrin, 444 U.S. at 49).

          Nevertheless, the EpiPen court disagreed with two California district court decisions
 holding that a special-trust relationship is not required to constitute bribery under the Travel Act.
 See EpiPen, 2022 WL 1017770 at *5 (discussing United States v. Gross, 370 F. Supp. 3d 1139
 (C.D. Cal. 2019); United States v. Rogers, 389 F. Supp. 3d 774 (C.D. Cal. 2019)). As the court in
 Rogers explained, however, the Supreme Court in Perrin and United States v. Nardello, 393 U.S.
 286 (1969), focused on the defendants’ conduct, not on categorical definitions of the underlying
 offenses. Rogers, 389 F. Supp. 3d at 793 (“Because Nardello and Perrin clearly require
 comparisons of the defendant’s conduct, rather than a comparison of the elements of a generic
 offense to the elements of a predicate offense, Nardello and Perrin preclude application of the
 categorical approach in the manner advocated by Defendant here.”). See also Gross, 370 F. Supp.
 3d at 1149-50 (citing Perrin in holding that the kickbacks at issue in that case easily fell into the
 generic definition of bribery). Cf. United States v. Manzo, 851 F. Supp. 2d 797, 811 (D.N.J. 2012)
 (“Under Nardello …, a predicate act need not be classified under a State bribery statute as ‘bribery’
 for it to serve as a proper predicate act for a Travel Act violation.”).

        Like the California courts in Gross and Rogers, the Third Circuit takes a conduct-based
 approach to determine the viability of a predicate act and has consistently held that “[t]he test for
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 determining whether the charged acts fit into the generic category of the predicate offense is
 whether the indictment charges a type of activity generally known or characterized in the
 proscribed category, namely, any act or threat involving bribery.” United States v. Forsythe, 560
 F.2d 1127, 1137 (3d Cir. 1977) (emphasis added). Rose v. Bartle, 871 F.2d 331, 362 (3d Cir.
 1989) (“The question ... is whether … the plaintiffs have sufficiently alleged bribery and extortion
 activities by Asher and Bartle under the generic standard adopted by this court in Forsythe.”). See
 also United States v. Garner, 837 F.2d 1404, 1418 (7th Cir. 1987) (“any statute that proscribes
 conduct which could be generically defined as bribery can be the basis for a predicate act.”).
 Accordingly, district courts in the Third Circuit have considered violations of the Travel Act to be
 qualifying predicate acts under RICO in situations that involved payments to private persons to
 influence private duties. See, e.g., Temple University v. Salla Bros., 656 F. Supp. 97, 105-106
 (E.D. Pa. 1986) (rejecting defendants’ contention that the plaintiff incorrectly relied on the Travel
 Act as another RICO predicate act); In re Mallinckrodt PLC, __ B.R. __, 2021 WL 6058411, *12-
 13 (Bankr. D. Del. Dec. 21, 2021) (recognizing that third-party payors had to prove Debtors
 committed a predicate act that caused a direct injury to business dealings for liability under RICO
 – a viable possibility being an AKS violation by paying physicians through speaker programs,
 which the court found unproven at trial). Thus, EpiPen is contrary to both the Supreme Court’s
 decision in Perrin and Third Circuit law binding on this court.

         The RICO statute itself further supports Plaintiffs’ claim. RICO defines a “predicate act”
 of Racketeering Activity” to include “any act indictable under the … provisions of 18 U.S.C.
 …section 1957. See 18 U.S.C. §1961(1)(B). Section 1957, in turn, provides that it is a crime to
 “knowingly engage in a monetary transaction in criminally derived property of a value greater than
 $10,000 and is derived from specified unlawful activity.” The term “specified unlawful activity”
 includes “any activity constituting an offense involving a Federal health care offense.” 18 U.S.C.
 § 1957(f)(3) (citing 18 U.S.C. § 1956 (c)(7)(F)). A “‘Federal health care offense’ means a violation
 of … section 1128B of the Social Security Act (42 U.S.C. 1320a-7b) [i.e., the AKS].” See 18
 U.S.C. §24(a)(1). Subsection (b) of 42 U.S.C. §1320a-7b prohibits any person from knowingly
 and willfully soliciting, receiving, offering or paying “any remuneration (including any kickback,
 bribe or rebate) directly or indirectly, overtly or covertly, in cash or in kind” in exchange for
 “purchasing, leasing, or ordering any good, facility, service or item for which payment may be
 made in whole or in part under a Federal health care program.” Thus, Section 1957 does not even
 require proof of bribery much less a special relationship to make out a violation of the Travel Act
 and to form a RICO predicate act. But even if it did, under Perrin, violation of the AKS clearly
 involves bribery within the meaning of the statute because a violation necessarily involves
 payments to private persons to influence duties imposed by the Social Security statute. Plainly, a
 court is obliged to follow the plain meaning of the Travel Act and, derivatively the provisions of
 RICO that make Travel Act violations predicate acts for RICO purposes, without regard to the
 existence of a special relationship. Perrin, 444 U.S. at 43-44, 43 n.8, 46.

         Finally, in order to streamline the litigation, Plaintiffs are willing to dismiss their claims
 against the corporate parents of the PBM defendants without prejudice and subject to the
 stipulation that such Defendants will respond to the previously served Requests for Production of
 Documents, as served, without the need for service of a subpoena duces tecum.
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                                       Respectfully submitted,
                                       /s/ Matthew F. Gately
                                       Matthew F. Gately



 cc: All counsel of record (via ECF)
